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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.
                                                              No. 1:23-cv-00108-LMB-JFA
    GOOGLE LLC,

                          Defendant.


                          DECLARATION OF BRYON BECKER
                     IN SUPPORT OF GOOGLE LLC’S MOTION FOR
                   SUMMARY JUDGMENT AND MOTIONS TO EXCLUDE


         I, Bryon P. Becker, hereby declare as follows:

         1.      I am an associate with the law firm Paul, Weiss, Rifkind, Wharton & Garrison LLP,

  counsel for Defendant Google LLC (“Google”) in this action. I respectfully submit this declaration

  in support of Google’s Motion for Summary Judgment, Google’s Motion to Exclude the

  Testimony of Prof. Robin S. Lee, Google’s Motion to Exclude the Testimony of Dr. Timothy

  Simcoe, and Google’s Motion to Exclude the Testimony of Adoria Lim.

         2.      This declaration is based upon my personal knowledge and my review of relevant

  documents in this case, and I am competent to testify to the matters stated herein.

         3.      Attached to this declaration as Exhibit 1 is a true and correct copy of excerpts from

  the Expert Report of Robin S. Lee on behalf of Plaintiffs in this case, dated December 22, 2023.

         4.      Attached to this declaration as Exhibit 2 is a true and correct copy of excerpts from

  the Expert Report of Rosa M. Abrantes-Metz on behalf of Plaintiffs in this case, dated December

  22, 2023.
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          5.     Attached to this declaration as Exhibit 3 is a true and correct copy of excerpts from

  the Expert Rebuttal Report of Robin S. Lee on behalf of Plaintiffs in this case, dated February 13,

  2024.

          6.     Attached to this declaration as Exhibit 4 is a true and correct copy of excerpts from

  the Expert Report of Gabriel Weintraub on behalf of Plaintiffs in this case, dated December 22,

  2023.

          7.     Attached to this declaration as Exhibit 5 is a true and correct copy of excerpts from

  the Expert Report of Timothy Simcoe on behalf of Plaintiffs in this case, dated December 22, 2023.

          8.     Attached to this declaration as Exhibit 6 is a true and correct copy of excerpts from

  the transcript of the deposition of Rosa Abrantes-Metz, expert witness on behalf of Plaintiffs in

  this case, taken on March 7, 2024.

          9.     Attached to this declaration as Exhibit 7 is a true and correct copy of excerpts from

  the transcript of the deposition of Kenneth Wilbur, expert witness on behalf of Plaintiffs in this

  case, taken on March 1, 2024.

          10.    Attached to this declaration as Exhibit 8 is a true and correct copy of excerpts from

  the transcript of the deposition of Robin Lee, expert witness on behalf of Plaintiffs in this case,

  taken on March 15, 2024.

          11.    Attached to this declaration as Exhibit 9 is a true and correct copy of excerpts from

  the transcript of the deposition of Benneaser John in his capacity as a corporate representative of

  Microsoft pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September 8, 2023.

          12.    Attached to this declaration as Exhibit 10 is a true and correct copy of excerpts from

  the transcript of the deposition of John Dederick in his capacity as a corporate representative of

  The Trade Desk pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on July 28, 2023.




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         13.     Attached to this declaration as Exhibit 11 is a true and correct copy of excerpts from

  the transcript of the deposition of Luke Lambert in his capacity as a corporate representative of

  Omnicom pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on August 29, 2023.

         14.     Attached to this declaration as Exhibit 12 is a true and correct copy of excerpts from

  the transcript of the deposition of Kendall Oliphant, Chief of the Contract Program Office in the

  Communications Directorate of the U.S. Census Bureau, taken on August 9, 2023.

         15.     Attached to this declaration as Exhibit 13 is a true and correct copy of excerpts from

  the transcript of the deposition of Kristy Kozlowski in her capacity as a corporate representative

  of Comcast pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September 6, 2023.

         16.     Attached to this declaration as Exhibit 14 is a true and correct copy of email

  correspondence from E. Stoltz to R. Herrera, et al., with subject line “[EXTERNAL] SPM Paid

  Media Plan,” with attachment, dated June 16, 2021, produced by the Department of Justice

  (“DOJ”) on behalf of the Department of Veterans Affairs (“VA”) in this matter, and bearing Bates

  Nos. VET-AF-ADS-0000122732 to VET-AF-ADS-0000122747.

         17.     Attached to this declaration as Exhibit 15 is a true and correct copy of excerpts from

  the transcript of the deposition of Wayne D. Hoyer, expert witness on behalf of Plaintiffs in this

  case, taken on March 4, 2024.

         18.     Attached to this declaration as Exhibit 16 is a true and correct copy of excerpts from

  the transcript of the deposition of Lara Stott, Strategic Marketing Advisor to the Commander for

  the Air Force Recruiting Service, taken on September 18, 2023.

         19.     Attached to this declaration as Exhibit 17 is a true and correct copy of excerpts from

  the transcript of the deposition of Christopher Koepke, Director of the Strategic Marketing Group

  for the Centers for Medicare and Medicaid Services (“CMS”), taken on August 21, 2023.




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         20.     Attached to this declaration as Exhibit 18 is a true and correct copy of excerpts from

  the transcript of the deposition of Christopher Karpenko, Senior Director for Customer Marketing

  for the United States Postal Service (“USPS”), taken on August 10, 2023.

         21.     Attached to this declaration as Exhibit 19 is a true and correct copy of excerpts from

  the transcript of the deposition of Col. John Horning, Director for Strategy, Innovation, and Data

  for the Army Enterprise Marketing Office, taken on August 18, 2023.

         22.     Attached to this declaration as Exhibit 20 is a true and correct copy of excerpts from

  the transcript of the deposition of Allen Owens, Director of Marketing for the Navy Recruiting

  Command, taken on August 15, 2023.

         23.     Attached to this declaration as Exhibit 21 is a true and correct copy of excerpts from

  the transcript of the deposition of Koby South in his capacity as a corporate representative of the

  VA pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on August 31, 2023.

         24.     Attached to this declaration as Exhibit 22 is a true and correct copy of excerpts from

  the transcript of the deposition of Koby South, Program Manager and Communications Specialist

  for the VA, taken on August 31, 2023.

         25.     Attached to this declaration as Exhibit 23 is a true and correct copy of excerpts from

  the transcript of the deposition of Susan A. McMeen, Director of Consumer Information at the

  National Highway Traffic Safety Administration (“NHTSA”), taken on September 7, 2023.

         26.     Attached to this declaration as Exhibit 24 is a true and correct copy of a diagram of

  the Microsoft Advertising Ecosystem, which was used as Exhibit 24 in the deposition of Benneaser

  John in his capacity as a corporate representative of Microsoft pursuant to Federal Rule of Civil

  Procedure 30(b)(6), taken on September 8, 2023.

         27.     Attached to this declaration as Exhibit 25 is a true and correct copy of excerpts from




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  the transcript of the deposition of Todd Parsons in his capacity as a corporate representative of

  Criteo pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September 8, 2023.

          28.   Attached to this declaration as Exhibit 26 is a true and correct copy of excerpts from

  Criteo’s Form 10-K for the fiscal year ended December 31, 2022, used as Exhibit 1 in the

  deposition of Todd Parsons in his capacity as a corporate representative of Criteo pursuant to

  Federal Rule of Civil Procedure 30(b)(6), taken on September 8, 2023.

          29.   Attached to this declaration as Exhibit 27 is a true and correct copy of excerpts from

  a presentation titled “PBS Competitive Intelligence,” dated November 2015, produced by Google

  in this matter, and bearing Bates Nos. GOOG-AT-MDL-003530782 to GOOG-AT-MDL-

  003530821.

          30.   Attached to this declaration as Exhibit 28 is a true and correct copy of excerpts from

  the Expert Report of Ramamoorthi Ravi on behalf of Plaintiffs in this case, dated December 22,

  2023.

          31.   Attached to this declaration as Exhibit 29 is a true and correct copy of excerpts from

  a presentation titled “DSP Investment Strategy,” dated May 20, 2019, produced by AT&T in this

  matter, bearing Bates Nos. ATT-GCID-00111192 to ATT-GCID-00111288.

          32.   Attached to this declaration as Exhibit 30 is a true and correct copy of excerpts from

  a presentation titled “Yield Management & U1PA Best Practices in Google Ad Manager,” dated

  April 2020, produced by Google in this matter, and bearing Bates Nos. GOOG-DOJ-AT-02177232

  to GOOG-DOJ-AT-02177296.

          33.   Attached to this declaration as Exhibit 31 is a true and correct copy of a document

  titled “The Arrival of Real-Time Bidding,” dated 2011, produced by Google in this matter, and

  bearing Bates Nos. GOOG-AT-MDL-B-003881091 to GOOG-AT-MDL-B-003881108.




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         34.     Attached to this declaration as Exhibit 32 is a true and correct copy of excerpts from

  the transcript of the deposition of Ramamoorthi Ravi, expert witness on behalf of Plaintiffs in this

  case, taken on February 20, 2024.

         35.     Attached to this declaration as Exhibit 33 is a true and correct copy of excerpts from

  the Expert Report of Mark A. Israel on behalf of Google in this case, dated January 23, 2024.

         36.     Attached to this declaration as Exhibit 34 is a true and correct copy of excerpts from

  a presentation titled “Board Meeting,” dated January 29, 2019, produced by PubMatic in this

  matter, and bearing Bates Nos. PUBMATIC_DOJ-00000132 to PUBMATIC_DOJ-00000203.

         37.     Attached to this declaration as Exhibit 35 is a true and correct copy of excerpts from

  a presentation titled “Neil-OpenX Discussion,” dated 2018, produced by OpenX in this matter,

  and bearing Bates Nos. OPENX-00001018 to OPENX-00001049.

         38.     Attached to this declaration as Exhibit 36 is a true and correct copy of a printout of

  an Excel spreadsheet showing Sovrn exchange revenue, dated Q1 2015 to Q4 2022, produced by

  Sovrn in this matter, and bearing Bates No. SVRN000076.

         39.     Attached to this declaration as Exhibit 37 is a true and correct copy of excerpts from

  a presentation titled “Evolution of the Industry & AdX History,” dated August 2010, produced by

  Google in this matter, and bearing Bates Nos. GOOG-AT-MDL-015269020 to GOOG-AT-MDL-

  015269052.

         40.     Attached to this declaration as Exhibit 38 is a true and correct copy of excerpts from

  the Expert Report of Judith A. Chevalier on behalf of Google in this case, dated January 23, 2024.

         41.     Attached to this declaration as Exhibit 39 is a true and correct copy of excerpts from

  the transcript of the deposition of Gabriel Weintraub, expert witness on behalf of Plaintiffs in this

  case, taken on February 29, 2024.




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         42.    Attached to this declaration as Exhibit 40 is a true and correct copy of a presentation

  titled “Bidding in adversarial auctions,” dated November 27, 2017, produced by Google in this

  matter, and bearing Bates Nos. GOOG-DOJ-05282625 to GOOG-DOJ-05282671.

         43.    Attached to this declaration as Exhibit 41 is a true and correct copy of email

  correspondence from N. Jayaram to E. Lipkovitz, et al., with subject line “Re: Poirot to launch

  6/19,” dated August 20, 2017, produced by Google in this matter, and bearing Bates Nos. GOOG-

  DOJ-07825115 to GOOG-DOJ-07825117.

         44.    Attached to this declaration as Exhibit 42 is a true and correct copy of a document

  titled “AdX dynamic sell-side rev share (DRS v1) – project description / mini PRD,” dated August

  2014, produced by Google in this matter, and bearing Bates Nos. GOOG-DOJ-03619484 to

  GOOG-DOJ-03619485.

         45.    Attached to this declaration as Exhibit 43 is a true and correct copy of a presentation

  titled “Overall Pub Yield With DRS(v2),” dated April 7, 2016, produced by Google in this matter,

  and bearing Bates Nos. GOOG-DOJ-13235100 to GOOG-DOJ-13235120.

         46.    Attached to this declaration as Exhibit 44 is a true and correct copy of excerpts from

  the Expert Rebuttal Report of Rosa M. Abrantes-Metz on behalf of Plaintiffs in this case, dated

  February 13, 2024.

         47.    Attached to this declaration as Exhibit 45 is a true and correct copy of excerpts from

  a presentation titled “Display RevForce,” dated December 9, 2015, produced by Google in this

  matter, and bearing Bates Nos. GOOG-AT-MDL-019215643 to GOOG-AT-MDL-019215688.

         48.    Attached to this declaration as Exhibit 46 is a true and correct copy of a document

  titled “AWBid 2021 Strategy Paper,” dated Aug 3, 2020, produced by Google in this matter, and

  bearing Bates Nos. GOOG-DOJ-AT-02307442 to GOOG-DOJ-AT-02307446.




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          49.    Attached to this declaration as Exhibit 47 is a true and correct copy of a presentation

  titled “AWBid Evaluation,” dated September 2017, produced by Google in this matter, and bearing

  Bates Nos. GOOG-AT-MDL-009766729 to GOOG-AT-MDL-009766748.

          50.    Attached to this declaration as Exhibit 48 is a true and correct copy of a document

  titled “AdX Comms: Server Side Interface for 3rd party ad server dynamic allocation,” dated June

  18, 2013, produced by Google in this matter, and bearing Bates Nos. GOOG-DOJ-03610002 to

  GOOG-DOJ-03610004.

          51.    Attached to this declaration as Exhibit 49 is a true and correct copy of email

  correspondence from M. Smith to A. Pappu, et al., with subject line “Re: Dynamic Allocation with

  other ad servers,” dated May 22, 2013, produced by Google in this matter, and bearing Bates Nos.

  GOOG-DOJ-06583662 to GOOG-DOJ-06583667.

          52.    Attached to this declaration as Exhibit 50 is a true and correct copy of a document

  titled “DFP-AdX Account Unification,” dated March 2014, produced by Google in this matter,

  and bearing Bates Nos. GOOG-DOJ-14260375 to GOOG-DOJ-14260377.

          53.    Attached to this declaration as Exhibit 51 is a true and correct copy of excerpts from

  the transcript of the deposition of James Glogovsky in his capacity as a corporate representative

  of The New York Times pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on August 25,

  2023.

          54.    Attached to this declaration as Exhibit 52 is a true and correct copy of an article

  titled “First-Price Auctions in Online Display Advertising,” authored by Ramamoorthi Ravi, and

  used as Exhibit 3 in the deposition of Ramamoorthi Ravi, expert witness on behalf of Plaintiffs in

  this case, taken on February 22, 2024.

          55.    Attached to this declaration as Exhibit 53 is a true and correct copy of a document




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  titled “Ad Exchange Dynamic Allocation” dated September 2013, produced by Google in this

  matter, and bearing Bates Nos. GOOG-TEX-00054839 to GOOG-TEX-00054872.

         56.    Attached to this declaration as Exhibit 54 is a true and correct copy of excerpts from

  the transcript of the deposition of Jonathan Bellack, former Director of Publisher Platforms at

  Google, taken on October 2, 2020.

         57.    Attached to this declaration as Exhibit 55 is a true and correct copy of email

  correspondence from A. Eagle to S. Spencer, et al., with subject line “Re: ad exchange paragraph

  in board letter,” dated March 22, 2010, produced by Google in this matter, and bearing Bates Nos.

  GOOG-AT-MDL-016986419 to GOOG-AT-MDL-016986420.

         58.    Attached to this declaration as Exhibit 56 is a true and correct copy of a presentation

  titled “Project 17 Proposed Acquisition of AdMeld Presentation to the Google Board,” dated June

  2011, produced by Google in this matter, and bearing Bates Nos. GOOG-DOJ-10590882 to

  GOOG-DOJ-10590899.

         59.    Attached to this declaration as Exhibit 57 is a true and correct copy of email

  correspondence from S. Spencer to J. Bellack, et al., with subject line “Re: Update on AdX YM:

  Client feedback and Latest Progress,” dated February 2, 2011, produced by Google in this matter,

  and bearing Bates Nos. GOOG-DOJ-13245481 to GOOG-DOJ-13245488.

         60.    Attached to this declaration as Exhibit 58 is a true and correct copy of a document

  titled “Admeld Product and Client Migration – Comms Doc,” dated September 1, 2012, produced

  by Google in this matter, and bearing Bates Nos. GOOG-DOJ-03606441 to GOOG-DOJ-

  03606451.

         61.    Attached to this declaration as Exhibit 59 is a true and correct copy of a document

  titled “AdMeld Proposal: Mobile Advertising Marketplace,” dated February 25, 2011, produced




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  by Google in this matter, and bearing Bates Nos. GOOG-DOJ-03599592 to GOOG-DOJ-

  03599616.

          62.    Attached to this declaration as Exhibit 60 is a true and correct copy of email

  correspondence from R. Srinivasan to B. Bender, et al., with subject line “Unified Auction

  Changes (Sellside) Executive Update – Aug 12, 2019,” dated August 13, 2019, produced by

  Google in this matter, and bearing Bates Nos. GOOG-DOJ-09713317 to GOOG-DOJ-09713323.

          63.    Attached to this declaration as Exhibit 61 is a true and correct copy of excerpts from

  a presentation titled “Changes to Ad Manager, AdMob Auction,” dated September 3, 2019,

  produced by Google in this matter, and bearing Bates Nos. GOOG-DOJ-AT-02204351 to GOOG-

  DOJ-AT-02204391.

          64.    Attached to this declaration as Exhibit 62 is a true and correct copy of excerpts from

  the Expert Rebuttal Report of Adoria Lim on behalf of Plaintiffs in this case, dated February 13,

  2024.

          65.    Attached to this declaration as Exhibit 63 is a true and correct copy of excerpts from

  the transcript of the deposition of Kendall Oliphant in her capacity as a corporate representative of

  the U.S. Census Bureau pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September

  27, 2023.

          66.    Attached to this declaration as Exhibit 64 is a true and correct copy of excerpts from

  the transcript of the deposition of Lt. Col. Lennox Morris, Branch Chief of Paid Media for the

  Army Enterprise Marketing Office, taken on September 1, 2023.

          67.    Attached to this declaration as Exhibit 65 is a true and correct copy of excerpts from

  the transcript of the deposition of Allen Owens in his capacity as a corporate representative of the

  U.S. Navy pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September 28, 2023.




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         68.     Attached to this declaration as Exhibit 66 is a true and correct copy of excerpts from

  the transcript of the deposition of Christopher Koepke in his capacity as a corporate representative

  of CMS pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on August 25, 2023.

         69.     Attached to this declaration as Exhibit 67 is a true and correct copy of email

  correspondence from S. Edlavitch to E. Blazar, et al., with subject line “Re: OE8 Campaign

  results,” dated January 28, 2021, produced by the DOJ on behalf of CMS in this matter, and bearing

  Bates Nos. CMS-ADS-0000373744 to CMS-ADS-0000373745.

         70.     Attached to this declaration as Exhibit 68 is a true and correct copy of excerpts from

  the transcript of the deposition of Adoria Lim, expert witness on behalf of Plaintiffs in this case,

  taken on February 29, 2024.

         71.     Attached to this declaration as Exhibit 69 is a true and correct copy of excerpts from

  a document titled “Integrated Communications Contract: Revised Technical Proposal – Media

  Planning and Buying,” dated October 5, 2018, produced by the DOJ in this matter on behalf of the

  U.S. Census Bureau, and bearing Bates Nos. CENSUS-ADS-0000387420 to CENSUS-ADS-

  0000387490.

         72.     Attached to this declaration as Exhibit 70 is a true and correct copy of excerpts from

  email correspondence from G. Mason to S. McMeen, et al., with subject line “Media Overview

  Slides,” with attachment, dated June 25, 2019, produced by the DOJ on behalf of NHTSA in this

  matter, and bearing Bates Nos. NHTSA-ADS-0000337070 to NHTSA-ADS-0000337119.

         73.     Attached to this declaration as Exhibit 71 is a true and correct copy of excerpts from

  email correspondence from S. Chang to C. Karpenko, et al., with subject line “RE: UM Contract,”

  with attachments, dated January 17, 2023, produced by the DOJ on behalf of USPS in this matter,

  and bearing Bates Nos. USPS-ADS-0000902290 to USPS-ADS-0000902373.




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         74.     Attached to this declaration as Exhibit 72 is a true and correct copy of excerpts from

  a document titled “Solicitation/Contract/Order for Commercial Items,” dated September 10, 2021,

  produced by the DOJ on behalf of the VA in this matter, and bearing Bates Nos. VET-AF-ADS-

  0000461239 to VET-AF-ADS-0000461287.

         75.     Attached to this declaration as Exhibit 73 is a true and correct copy of excerpts from

  a document titled “Solicitation/Contract/Order for Commercial Items,” dated May 20, 2021,

  produced by the DOJ in this matter on behalf of the U.S. Navy, and bearing Bates Nos. NAVY-

  ADS-0000256935 to NAVY-ADS-0000257031.

         76.     Attached to this declaration as Exhibit 74 is a true and correct copy of email

  correspondence from K. Housein to P. Jenkins, et al., regarding task order award, with attachments,

  dated June 14, 2022, produced by the DOJ on behalf of CMS in this matter, and bearing Bates

  Nos. CMS-ADS-0000018746 to CMS-ADS-0000018790.

         77.     Attached to this declaration as Exhibit 75 is a true and correct copy of excerpts from

  email correspondence from N. Rudyk to B. Dickey, et al., regarding media plan recommendation,

  with attachments, dated September 18, 2022, produced by the DOJ on behalf of the U.S. Air Force

  in this matter, and bearing Bates Nos. USAF-ADS-0000001422 to USAF-ADS-0000001476.

         78.     Attached to this declaration as Exhibit 76 is a true and correct copy of excerpts from

  email correspondence from S. McMeen to J. Vallese, et al., regarding NHTSA request for proposal

  and task orders, with attachments, dated October 20, 2022, produced by the DOJ on behalf of

  NHTSA in this matter, and bearing Bates Nos. NHTSA-ADS-0000344712 to NHTSA-ADS-

  0000344846.

         79.     Attached to this declaration as Exhibit 77 is a true and correct copy of email

  correspondence from N. Broler to L. Morris, et al., with subject line “[Non-DoD Source] Re:




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  Revised Optimization Process Review,” with attachment, dated April 8, 2022, produced by the

  DOJ on behalf of the U.S. Army in this matter, and bearing Bates Nos. ARMY-ADS-0000060557

  to ARMY-ADS-0000060559.

          80.    Attached to this declaration as Exhibit 78 is a true and correct copy of excerpts from

  a document titled “Order for Supplies or Services,” dated November 21, 2018, produced by the

  DOJ in this matter on behalf of the U.S. Census Bureau, and bearing Bates Nos. CENSUS-ADS-

  0000075450 to CENSUS-ADS-0000075493.

          81.    Attached to this declaration as Exhibit 79 is a true and correct copy of excerpts from

  the transcript of the deposition of Col. John Horning in his capacity as a corporate representative

  of the U.S. Army pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September 29,

  2023.

          82.    Attached to this declaration as Exhibit 80 is a true and correct copy of excerpts from

  the transcript of the deposition of Lara Stott in her capacity as a corporate representative of the

  U.S. Air Force pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on September 20, 2023.

          83.    Attached to this declaration as Exhibit 81 is a true and correct copy of excerpts from

  the transcript of the deposition of K. Marco Hardie in his capacity as a corporate representative of

  Google pursuant to Federal Rule of Civil Procedure 30(b)(6), taken on November 14, 2023.

          84.    Attached to this declaration as Exhibit 82 is a true and correct copy of a document

  titled “Google Marketing Platform Order Form – Advertising Services,” dated January 30, 2021,

  produced by Google in this matter, and bearing Bates Nos. GOOG-AT-MDL-019566844 to

  GOOG-AT-MDL-019566850.

          85.    Attached to this declaration as Exhibit 83 is a true and correct copy of excerpts from

  the transcript of the deposition of Tim Craycroft, Google’s Vice President and General Manager




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  for YouTube ads, display ads, app ads, and publisher products, taken on August 15, 2023.

         86.    Attached to this declaration as Exhibit 84 is a true and correct copy of a presentation

  titled “Google Display & Video Ads Market Share,” dated January 2018, produced by Google in

  this matter, and bearing Bates Nos. GOOG-DOJ-11785945 to GOOG-DOJ-11785951.

         87.    Attached to this declaration as Exhibit 85 is a true and correct copy of excerpts from

  a presentation titled “Amazon Overview,” dated November 28, 2017, produced by Google in this

  matter, and bearing Bates Nos. GOOG-DOJ-12634156 to GOOG-DOJ-12634207.

         88.    Attached to this declaration as Exhibit 86 is a true and correct copy of excerpts from

  Meta’s Form 10-K for the fiscal year ended December 31, 2022.

         89.    Attached to this declaration as Exhibit 87 is a true and correct copy of excerpts from

  a presentation titled “Future of Advertising,” dated July 2020, produced by Microsoft in this

  matter, and bearing Bates No. MSFT-LIT-0000000137.

         90.    Attached to this declaration as Exhibit 88 is a true and correct copy of an excerpt

  from a report on a 2022 ad campaign on behalf of NHTSA, which was used as Exhibit 143 in the

  deposition of Susan McMeen in her capacity as a corporate representative of NHTSA pursuant to

  Federal Rule of Civil Procedure 30(b)(6), taken on September 26, 2023.

         91.    Attached to this declaration as Exhibit 89 is a true and correct copy of excerpts from

  a presentation titled “SSP Business Investment Case,” dated November 2019, produced by AT&T

  in this matter, and bearing Bates Nos. ATT-GCID-00111234 to ATT-GCID-00111288.

         92.    Attached to this declaration as Exhibit 90 is a true and correct copy of a document

  titled “PStaff Meeting – 5/29/2018: DVIP 2019 and beyond,” dated May 29, 2018, produced by

  Google in this matter, and bearing Bates Nos. GOOG-DOJ-03331721 to GOOG-DOJ-03331727.

         93.    Attached to this declaration as Exhibit 91 is a true and correct copy of excerpts from




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  the transcript of the deposition of Timothy S. Simcoe, expert witness on behalf of Plaintiffs in this

  case, taken on February 23, 2024.

         94.     Attached to this declaration as Exhibit 92 is a true and correct copy of the Errata to

  the Expert Report of Timothy Simcoe, dated January 13, 2024.

         95.     Attached to this declaration as Exhibit 93 is a true and correct copy of excerpts from

  the Expert Rebuttal Report of Timothy Simcoe on behalf of Plaintiffs in this case, dated February

  13, 2024.

         96.     Exhibit 94 is intentionally omitted.

         97.     Attached to this declaration as Exhibit 95 is a true and correct copy of excerpts from

  a document titled “2020 Census Integrated Communications Plan,” dated June 2, 2017, produced

  by the DOJ in this matter on behalf of the U.S. Census Bureau, and bearing Bates No. CENSUS-

  ADS-0000029308 to CENSUS-ADS-0000029521.

         98.     Attached to this declaration as Exhibit 96 is a true and correct copy of

  correspondence from M. Goodman to J. Wood regarding this matter, dated February 21, 2024.

         99.     Attached to this declaration as Exhibit 97 is a true and correct copy of the backup

  data for Figure 11 of Appendix E of the Expert Rebuttal Report of Adoria Lim.

         100.    Attached to this declaration as Exhibit 98 is a true and correct copy of excerpts from

  Google's Responses and Objections to Plaintiffs' First Set of Requests for Admission, dated

  September 1, 2023

         101.    Attached to this declaration as Exhibit 99 is a true and correct copy of excerpts from

  a document titled “Digital Media Bill,” dated November 21, 2022, produced by the DOJ in this

  matter on behalf of the U.S. Navy, and bearing Bates Nos. NAVY-ADS-0000373978 to NAVY-

  ADS-0000374145.




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         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on the 26th of April, 2024, in Washington, D.C.




                                                              Bryon P. Becker




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